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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

DANA A. NELSON, D.V.M.,                       )
                                              )
               Plaintiff,                     )
                                              )       CIVIL ACTION NO.:
 vs.                                          )
                                              )       JURY TRIAL DEMANDED
PENNY PAWS ANIMAL CLINIC,                     )
PLLC,                                         )
                                              )
               Defendant.                     )



                                         COMPLAINT

         NOW COMES, Plaintiff Dana A.Nelson (“Plaintiff”) and avers against Penny Paws

Animal Clinic, PLLC (“Defendant”) the following:

                                  PARTIES AND SERVICE

         1.    Plaintiff is Dana A. Nelson, a Citizen of the United States of America and of the

State of Texas, and a resident of Tarrant County.

2.       Defendant is Penny Paws Animal Clinic, PLLC, a Texas Professional Limited Liability

Company, operating in Tarrant County and whose Registered Agent in Texas is Robert P. Franklin,

D.V.M., with an address of 3435 Thousand Oaks Drive, Suite 104, San Antonio, TX 78247.

                                  JURISDICTION & VENUE

         3.    This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1343(a)(4), because Plaintiff asserts federal civil rights claims under the ADA, 42 U.S.C.

§ 12112. This Court has supplemental jurisdiction over Plaintiff’s Texas state law claims pursuant

to 28 U.S.C. § 1367.

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        4.       This Court has personal jurisdiction over Defendant, as Defendant Penny Paws

Animal Clinic PLLC regularly conducts business in this District, through its Arlington Branch.

        5.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1), as Defendant,

regularly conducts business in this District. Venue is also proper under 28 U.S.C. § 1391(b)(2), as

a substantial part of the events or omissions giving rise to the federal and state claims occurred in

this District.

                                   FACTUAL ALLEGATIONS

        6.       Dana A. Nelson, D.V.M. (“Plaintiff”) began working as Medical Director at Penny

Paws Animal Clinic, PLLC (“Defendant”) at the Arlington, Texas Branch, on July 9, 2018.

        7.       Prior to commencing her employment, Plaintiff informed Defendant that she

suffered from Bipolar Disorder, with which she had been diagnosed, by LifePath Systems, in

Plano, Texas, in April 2015.

        8.       Plaintiff further informed Defendant that she took the medications prescribed by

her Physician. Those medications at the time were: Zoloft (100 mg./day); Lamotrigine (75

mg./day); and Trileptal (150 mg./day). Plaintiff also had a prescription for a CBD product which

could cause her to test positive for THC.

        9.       With medication, Plaintiff was fully able to perform the duties of her job as Medical

Director for Defendant.

        10.      After a few months of employment, Plaintiff further informed Defendant’s Practice

Manager Kat Bayse that she had become pregnant and might have to reduce her level of medication

during her pregnancy. The reduction in medication had the possibility of exacerbating Plaintiff’s

Bipolar Disorder symptoms, and Plaintiff felt Defendant should be aware of this possibility.




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                         REPORT OF RACIAL DISCRIMINATION

        11.     In August 2019, Plaintiff reported Race Discrimination by Defendant’s Office

Manager Candra Lawrence, to the Penny Paws Chief of Staff Clay Etheridge. Plaintiff had become

aware two office employees, one Hispanic female and one African American female, were being

paid $2.00 an hour less than two Caucasian female employees who worked in the same role.

        12.     Clay Etheridge represented to Plaintiff that her Complaint would be forwarded to

Human Resources and investigated.

        13.     Clay Etheridge informed Candra Lawrence, Office Manager, of Plaintiff’s

allegation in a conversation that was witnessed by Nick, a Veterinary Technician in the office.

  RETALIATION AFTER REPORT OF RACIAL DISCRIMINATION AND HOSTILE
                       WORK ENVIRONMENT

        14.     Almost immediately after reporting the Race Discrimination, Candra began

retaliating against and acting negatively toward Plaintiff. Candra told Plaintiff that she thought

Plaintiff was trying to get her fired, when in fact, Plaintiff was just trying to inform Defendant of

an inequity in compensation that appeared to be based on race because there was no other

explanation for the discrepancy in wages.

        15.     Defendant created a hostile work environment in many different instances. On one

occasion, Plaintiff’s Team Members were observing Plaintiff draw blood from a colt, under

emergency circumstances. Candra walked in and ordered Plaintiff to conduct the procedure in the

Operating Room, which was unnecessary, and would waste valuable time, and jeopardize the

health of the colt.

        16.     On another occasion, during a day of extreme heat in the summer, Plaintiff was

inserting catheters into two dogs who were on the verge of dying from heat exhaustion, when




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Candra ordered Plaintiff to first present a bill for $300 to the dogs’ owner, before the procedures

could continue.

          17.    This retaliatory conduct was highly unusual, and dangerous to the lives of the

animals Plaintiff was attempting to save.

                HOSTILE WORK ENVIRONMENT AND VIOLATION OF ADA

          18.    In September 2019, Plaintiff, without explanation, was ordered to take a random

drug test by Defendant. No other employees of Defendant had been required to take a random drug

test.

          19.    This test was in retaliation for reporting race discrimination in employment

practices, as well as discrimination against Plaintiff based on her Disability, Bipolar Affective

Disorder.

          20.    It is well-known that the medicines she was taking at the time (Zoloft, Lamotrigine,

and Carbamazepine) could show up on a drug test as false positives for the street drug PCP. Also,

Plaintiff had told Candra that she had a prescription for CBD oil, and employees often discussed

various CBD products with each other.

          21.    Plaintiff’s Bipolar Disorder could interfere with several of her major life activities,

including her mental and emotional processes like concentrating and interacting with others if she

does not take her medicine. Plaintiff needed to take her prescribed medications to be in compliance

with doctor’s orders and to remain functional and operate at the level required by her job.

          22.    After taking the drug test, Plaintiff was suspended while the test was being

evaluated. Plaintiff was thereafter terminated.

          23.    Defendant also created a hostile work environment for Plaintiff by telling people

she was on PCP, knowing that her prescribed medicines could appear to be PCP in a drug test.




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          24.   Several other of Defendant’s employees were known to regularly use marijuana

and derivative products, but Defendant did not require those employees to take a drug test. Plaintiff

was the only employee who was tested.

          25.   Defendant never informed Plaintiff of the basis for her termination.

          26.   Plaintiff remains under the care of a doctor and continues to take her medicine for

the treatment of Bipolar Disorder.

                                   CONDITIONS PRECEDENT

          27.   All conditions precedent to jurisdiction have occurred or been complied with: a

charge of discrimination was filed first with the Fort Worth Human Relations Commission and the

Equal Employment Opportunity Commission. Plaintiff's Complaint is filed within ninety days of

Plaintiff's receipt of the Equal Employment Opportunity Commission's issuance of a Right to Sue

Letter.

                                   RESPONDEAT SUPERIOR

          28.      Whenever in this petition it is alleged that the Defendant, Penny Paws Animal

Clinic, PLLC did any act or thing, it is meant that the Defendant's officers, agents, servants,

employees or representatives did such act and/or that at that time such act was done, it was done

with the full authorization or ratification of the Defendant or was done in the normal and routine

course and scope of employment of Defendant's officers, agents, servants, employees, or

representatives.

    COUNT I - VIOLATION OF THE ADA - DISCRIMINATION ON THE BASIS OF
                        DISABILITY - 42 U.S.C. 12112

          29.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.




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          30.   Plaintiff is an eminently qualified veterinarian with a Disability, namely Bipolar

Affective Disorder. Plaintiff told Defendant about the disorder when she was hired. Plaintiff’s

Disability substantially limits one or more of her major life activities.

          31.   Disability notwithstanding, Plaintiff was able to perform her job duties while she

was employed by Defendant.

          32.   Despite her performance, Plaintiff was terminated from her position as Medical

Director of the Arlington Clinic by Defendant because of her Disability after a drug test that

showed she took her prescribed medication.

          33.   Other employees who regularly smoked marijuana and used derivative products

were not drug tested or terminated for using those substances.

           COUNT II - VIOLATION OF TCHRA - TEXAS LABOR CODE 21.051 -
                 DISCRIMINATION ON THE BASIS OF DISABILITY

          34.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

          35.   Plaintiff is an individual who has a Disability within the meaning of TCHRA, in

that one or more of her major life activities are limited because of her Disability; Plaintiff was

regarded by Defendant as someone who had a Disability; Plaintiff was qualified for her position,

functioning at a high level; and Plaintiff was terminated because of her Disability after she took a

drug test that showed proper levels of her prescribed medication.

   COUNT III - VIOLATION OF TITLE VII - RETALIATION - 42 U.S.C. § 2000e(a))

          36.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

          37.   Plaintiff reported racial discrimination to Defendant’s Practice Manager Clay

Etheridge, a protected activity under the Act; Candra Lawrence then began to harass Plaintiff and


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creating a hostile work environment. Defendant also demanded a drug test and terminated Plaintiff

without cause; there is a causal link between Plaintiff’s protected activity and her firing, because

it was only after she reported the discrimination in pay for Defendant’s African American

employees, that Candra retaliated against her, created a hostile work environment and ultimately

fired her.

          COUNT IV - VIOLATION OF TEXAS LABOR CODE CHAPTER 21.055 -
                                RETALIATION

          38.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

          39.   Plaintiff reported racial discrimination to Defendant, a protected activity;

Defendant, in retaliation, harassed, drug tested, then terminated Plaintiff, and there is a causal link

between Plaintiff’s protected activity and her subsequent termination, because there is no rational

explanation for Plaintiff’s termination.

  COUNT V – HOSTILE WORK ENVIRONMENT AND DISABILITY HARASSMENT

          40.   In violation of the ADA which prohibits discrimination in the terms, conditions and

privileges in employment, Defendant created a hostile work environment and harassed Plaintiff

because of her report of racial discrimination and because of her disability. Specifically, Plaintiff

is disabled (bi-polar disorder) and within the ADA’s protected class; Plaintiff was subject to

unwelcome harassment when Candra ordered Plaintiff to draw blood from a colt in an operating

room which was unnecessary and demanded Plaintiff stop treatment to present a bill to a client

and unfairly subjected Plaintiff to a drug test and told other employees that Plaintiff was taking

PCP; the harassment was retaliation for Plaintiff’s reporting race discrimination and because of

Plaintiff’s disability; the harassment was sufficiently sever or pervasive that it altered a term,

condition or privilege of employment because it led to Plaintiff’s being terminated; and the


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employer knew or should have known of the harassment and failed to take action because Candra’s

actions against Plaintiff were witnessed by other employees and Plaintiff brought the treatment to

the attention of management.

                                     COUNT VI - BATTERY

          41.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

          42.   By forcing Plaintiff to take a drug test, Defendant knowingly caused physical

contact with Plaintiff, when Defendant knew or reasonably should have known that Plaintiff would

regard the contact as offensive or provocative, especially because Defendant knew that Plaintiff

suffered from a severe mood disorder. Plaintiff was thereby sorely damaged by Defendant’s

offensive contact.

          COUNT VI - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

          43.   Plaintiff incorporates by reference the foregoing allegations as though fully set forth

herein.

          44.   Defendant acted intentionally or recklessly; Defendant’s conduct was extreme and

outrageous; that conduct caused Plaintiff emotional distress; and the emotional distress suffered

by Plaintiff was severe.

                                            DAMAGES

          45.   Plaintiff sustained the following damages as a result of the actions and/or omissions

of Defendant described hereinabove:

                a. All reasonable and necessary Attorney's fees incurred by or on behalf of

                     Plaintiff;




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               b. Back pay from the date that Plaintiff was released to return to work with

                   restrictions, and interest on the back pay in an amount to compensate Plaintiff

                   as the Court deems equitable and just;

               c. All reasonable and necessary costs incurred in pursuit of this suit;

               d. Emotional pain;

               e. Expert fees as the Court deems appropriate;

               f. Front pay in an amount the Court deems equitable and just to make plaintiff

                   whole;

               g. Prejudgment interest;

               h. Loss of enjoyment of life;

               i. Mental anguish in the past;

               j. Mental anguish in the future;

               k. Loss of earnings in the past;

               l. Loss of earning capacity which will, in all probability, be incurred in the future;

                   and

               m. Loss of benefits.

                                   EXEMPLARY DAMAGES

       Plaintiff would further show that the acts and omissions of Defendant complained of herein

were committed with malice or reckless indifference to the protected rights of the Plaintiff. In order

to punish said Defendant for engaging in unlawful business practices and to deter such actions

and/or omissions in the future, Plaintiff also seeks recovery from Defendant for exemplary

damages.




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                                             PRAYER

          WHEREFORE, PREMISES CONSIDERED, Plaintiff Dana Nelson respectfully prays

that the Defendant be cited to appear and answer herein, and that upon a final hearing of the cause,

judgment be entered for the Plaintiff against Defendant for damages in an amount within the

jurisdictional limits of the Court; exemplary damages, together with interest as allowed by law;

costs of court; and such other and further relief to which the Plaintiff may be entitled at law or in

equity.



                                                      Respectfully submitted,

                                                      By: /s/ Renea Overstreet
                                                      Renea Overstreet
                                                      Texas Bar No. 24066704
                                                      E-Mail: rdolaw@gmail.com
                                                      2100 N. Main Street, Suite 228
                                                      Fort Worth, Texas 76164
                                                      Tel. (817) 810-9747
                                                      Fax. (1-855) 299-5593
                                                      Attorney for Plaintiff
                                                      Dana A. Nelson, D.V.M.




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